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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 0:18-cv-60788-MARTINEZ/SNOW


  SPRINT COMMUNICATIONS, INC.,

           Plaintiff/Counterclaim Defendants,

  v.

  STEPHEN CALABRESE, NEXTEL, INC.
  d/b/a NEXTEL WORLDWIDE,
  RETROBRANDS USA LLC
  JEFFREY KAPLAN and NEXTEL
  MOBILE WORLDWIDE, INC.,

        Defendants/Counterclaim Plaintiffs.
  __________________________________/


       DEFENDANTS/COUNTERCLAIM PLAINTIFFS’ RESPONSE IN OPPOSITION TO
         SPRINT COMMUNICATIONS, INC.’S MOTION IN LIMINE TO EXCLUDE
           DEFENDANTS’ LATE DISCLOSED AND SPECULATIVE DAMAGES

          Defendants/Counterclaim Plaintiffs Stephen Calabrese, Nextel, Inc. d/b/a Nextel

  Worldwide, Retrobrands USA LLC, Jeffrey Kaplan and Nextel Mobile Worldwide, Inc.

  (“Defendants”), by their undersigned counsel, hereby submit their Response in Opposition to the

  Motion in Limine to Exclude Defendants’ Late Disclosed and Speculative Damages [ECF No.

  152] filed by Sprint Communications, Inc. (“Plaintiff” and/or “Sprint”) wherein Sprint seeks to

  exclude Defendants’ damage calculations.

                                          ARGUMENT

  I.      Legal Standard

          “Motions In Limine are disfavored” and “admissibility questions should be ruled

  upon as they arise at trial.” Stewart v. Hooters of Am., Inc., No. 8:04-CV-40-T-17-MAP,

  2007 WL 1752843, at *1 (M.D. Fla. June 18, 2007). “A court has the power to exclude
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  evidence in limine only when evidence is clearly inadmissible on all potential grounds.” Id.

  (citing Luce v. United States, 469 U.S. 38, 41 (1984)). “The movant has the burden of

  demonstrating that the evidence is inadmissible on any relevant ground.” Am. K-9 Detection

  Servs., Inc. v. Rutherfoord Int’l, Inc., No. 6:14-CV-1988-ORL-37TBS, 2016 WL 7183365,

  at *3 (M.D. Fla. May 16, 2016). Therefore, unless the evidence is clearly inadmissible,

  “evidentiary rulings should be deferred until trial so that questions of foundation, relevancy,

  and potential prejudice may be resolved in proper context.” Id. at *3.

         Because Defendants have not—and cannot—establish that the evidence they seek to

  exclude is “clearly inadmissible” on any basis, Plaintiff’s motion must be denied, and any

  evidentiary rulings should be deferred until trial.

         Plaintiff’s Motion in Limine is nothing more than a belated motion for summary

  judgment on Defendants’ tortious interference claims. The entire premise for Plaintiff’s motion

  in limine to exclude Defendants’ damage calculations is based on false information, and

  misrepresentations to the Court.            Plaintiff repeatedly claims that Defendants’ damage

  calculations are “unsupported and speculative” and “not supported by any evidence or

  documentation.”1 This is simply false. Defendants produced contracts for dealers who were sent

  cease and desist letters from Plaintiff on September 7, 2018.2 In each of the cease and desist

  letters sent by Plaintiff referred to the “equipment and services using the NEXTEL brand,”

  which is expressly describing the equipment and services the dealers were purchasing from

  Defendant Nextel Worldwide.3 The express causal relationship is obvious, each and every one

  of these dealers ceased doing business with Defendant Nextel Worldwide after receiving the


  1
    See ECF 152, pp. 2, 4, 7, 8, 9, 10, 15.
  2
    Attached as Exhibit A.
  3
    See ECF 6-18.

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  cease and desist letter from Plaintiff, which is more than a “reasonable certainty.” Further,

  Plaintiff’s Motion in Limine is based on the false premise that “Defendants do not establish a

  factual link whatsoever between Sprint’s actions and their claimed damages, and thus cannot

  establish causation with reasonable certainty.” Essentially, Plaintiff is moving for summary

  judgment on Defendants’ tortious interference claims well after the date for filing dispositive

  motions.

         Kaplan and Calabrese each testified at length regarding Plaintiff’s interference with

  Defendants’ business and the damage caused.4 Calabrese offered to provide specific calculations

  based on the documents produced at his deposition, but counsel for Plaintiff declined.5 The

  supplemental damage calculations6 were timely provided to Plaintiff, as agreed by Plaintiff’s

  counsel.7 The supplemental damage calculations were also provided by the close of discovery

  pursuant to the Scheduling Order.8 Defendants offered to keep discovery open until March 15,

  2019 “in case other names come up in depositions or to close any open loops.”9 Counsel for

  Plaintiff declined stating that she did “not see a need to extend the discovery deadline.” 10

  Further, while Plaintiff complains that Defendants’ supplemental damage calculations were

  provided at the close of discovery, Plaintiff served its First Supplemental Initial Disclosures only

  a week before the close of discovery significantly changing and supplementing its damages. 11




  4
    Exhibit B, excerpts from Kaplan deposition, pp. 192:16-195:24; 197:7-202:19; 204:6-205:25;
     Exhibit C, excerpts from Calabrese deposition, pp. 260:17-279:16.
  5
    Exhibit C, pp. 266:17 – 269:6.
  6
    Exhibit D.
  7
    Exhibit C, pp. 267:23-269:6.
  8
    ECF 54, p. 5.
  9
    Exhibit E, January 9, 2019 email from James Kernell to Lucy Wheatley, p. 2.
  10
     Id. at p. 1.
  11
     Exhibit F.

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            Plaintiff claims, without any support, that Defendants proffered three different and

  inconsistent theories of damages. Defendants’ damage calculations are clearly set forth below:12


                              C. A Computation of Each Category of Damages Pursuant to Rule

                   26(a)(1)(A)(iii).

                   Defendants identify the following categories of damages:

                   1. Actual damages to Defendant Nextel resulting from Sprint’s interference with

                       Defendants’ economic and contractual relationships in the amount of $4,299,520

                       and $429,952 damages to Retrobrands. This includes $1,264,000 in lost profits

                       from hardware purchase contracts that were terminated due to Sprint’s

                       interference and this lawsuit, it also includes $3,035,520 in lost profit from

                       subscribers not activating phones and not paying for service due to Sprint’s

                       interference and this lawsuit. Defendants had a reasonable and conservative

                       expectation of adding an additional 2 to 6 distributors for additional damages of

                       between $1,844,608 and $5,533,824, for a total loss of between $6,144,128 and

                       $9,833,344 to Nextel, and between $614,413 and $983,334 to Retrobrands.



                   Calculations supporting actual damages are as follows:

                   Losses on Hardware Sales to Distributors

                   Distributor Name:

                   A.) Chicago Equipment Corp. (DBA NEXTEL or ILLINOIS) Mr. Jim Watson.

                   400 units quarterly inventory, 2-yr. agreement.

                       1.) 100 qty i300 - Our cost $58 each; Distributor purchase price $136.60 each.



  12
       Exhibit D, pp. 7-12.

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                  Profit: $78.60 each x 100 = $7,860.00; Profit lost 1st quarter x 8 quarters

                      $62,880; lost 2-yr agreement.

                  2.) 100 qty i400 - Our cost $62 each; Distributor purchase price $156.60 each.

                  Profit: $94.60 each x 100 = $9,460.00; Profit lost 1st quarter x 8 quarters

                      $75,680; lost 2-yr. agreement.

                  3.) 100 qty i500 - Our cost $83 each; Distributor purchase price $176.60 each.

                  Profit $93.60 each x 100 = $9,360.00; Profit lost 1st quarter x 8 quarters

                      $74,880; lost 2-yr. agreement.

                  4.) 100 qty m370 - Our cost $87 each. Distributor purchase price $156.60

                      each.

                  Profit $69.60 each x 100 = $6,960.00; Profit lost 1st quarter x 8 quarters

                      $55,680; lost 2-yr agreement.

               Total hardware profit loss over 2 years on 2-yr. agreement signed

                  $269,120.00.

               B.) Fulfillment Center Name: Flipco Inc. (DBA NEXTEL of MIDWEST)

                  Mr. Phil Froemming.

               400 units quarterly inventory, 2-yr. agreement.

               1.) 100 qty i300 - Our cost $58 each; Fulfillment Center purchase price $125.60

                  each.

               Profit $67.60 each x 100 = $6,760.00; Profit lost 1st quarter x 8 quarters $54,080;

                  lost 2-yr. agreement.

               2.) 100 qty i400 - Our cost $62 each; Fulfilment Center purchase price: $136.60

                  each.


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               Profit $74.60 each x 100 = $7,460.00; Profit lost 1st quarter x 8 quarters $59,680;

                   lost 2-yr. agreement.

               3.) 100 qty i500 - Our cost $83 each; Fulfillment Center purchase price $156.60

                   each.

               Profit $73.60 each x 100 = $7,360.00; Profit lost 1st quarter x 8 quarters $58,880;

                   lost 2-yr. agreement.

               4.) 100 qty m370 - Our cost $87 each; Distributor purchase price $156.60 each.

               Profit $69.60 each x 100 = $6,960.00; Profit lost 1st quarter x 8 quarters $55,680;

                   lost 2-yr. agreement.

               Total Hardware Profit Loss on Contract over 2 yrs. agreed: $228,320.

               C.) Fulfillment Center Name: Comtech/American Radio (DBA NEXTEL of

                   Northeast) Mr. Joe Marletta.

               400 units quarterly inventory, 2-yr. agreement.

               1.) 100 qty i300 - Our cost $58 each; Fulfillment Center purchase price $125.60 each.

               Profit: $67.60 each x 100 = $6,760.00; Profit lost 1st quarter x 8 quarters $54,080;

                   lost 2-yr. agreement.

               2.) 100 qty i400 - Our cost $62 each; Fulfilment Center purchase price $136.60 each.

               Profit $74.60 each x 100 = $7,460.00; Profit lost 1st quarter x 8 quarters $59,680; lost

                   2-yr. agreement

               3.) 100 qty i500 - Our cost $83 each. Fulfillment Center purchase price $156.60

                   each.

               Profit $73.60 each x 100 = $7,360.00; Profit lost 1st quarter x 8 quarters $58,880; lost

                   2-yr. agreement

               4.) 100 qty m370 - Our cost $87each. Distributor purchase price $156.60 each.


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               Profit $69.60 each x 100 = $696; Profit lost 1st quarter x 8 quarters $55,680; lost

                   2-yr. agreement

               Total Hardware Profit Loss on Contract over 2 years agreed: $228,320.

               D.) Distributor Name:

               Advanced Paging & Communications (APC) DBA-NEXTEL OF PAC

                   NORTHWEST – Mr. Del Blaine

               400 units quarterly inventory, 2-yr. agreement.

               1.) 100 qty i300 - Our cost $58 each; Distributor purchase price $136.60 each.

               Profit: $78.60 each x 100 = $7,860.00; Profit lost 1st quarter x 8 quarters $62,880;

                   lost 2-yr. agreement.

               2.) 100 qty i400 - Our cost $62 each. Distributor purchase price $156.60 each.

               Profit $94.60 each x 100 = $9,460.00; Profit lost 1st quarter x 8 quarters $75,680; lost

                   2-yr. agreement.

               3.) 100 qty i500 - Our cost $83 each. Distributor purchase price $176.60 each.

               Profit $93.60 each x 100 = $9,360.00; Profit lost 1st quarter x 8 quarters $74,880; lost

                   2-yr. agreement.

               4.) 100 qty m370 - Our cost $87 each. Distributor purchase price $156.60 each.

               Profit $69.60 each x 100 = $6,960.00; Profit lost 1st quarter x 8 quarters $55,680; lost

                   2-yr. agreement.

               Total hardware profit loss over 2 years on 2-yr. agreement signed $269,120.00.

               E.) Distributor Name:

               FLEETCONNECT – DBA NEXTEL of the CAROLINAS

               400 units quarterly inventory, 2-yr. agreement.

               1.) 100 qty i300 - Our cost $58 each. Distributor purchase price $136.60 each.



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               Profit: $78.60 each x 100 = $7,860.00; Profit lost 1st quarter x 8 quarters $62,880;

                   lost 2-yr. agreement.

               2.) 100 qty i400 - Our cost $62 each. Distributor purchase price $156.60 each.

               Profit $94.60 each x 100 = $9,460.00; Profit lost 1st quarter x 8 quarters $75,680; lost

                   2-yr. agreement.

               3.) 100 qty i500 - Our cost $83 each. Distributor purchase price $176.60 each.

               Profit $93.60 each x 100 = $9,360.00; Profit lost 1st quarter x 8 quarters $74,880; lost

                   2-yr. agreement.

               4.) 100 qty m370 - Our cost $87 each. Distributor purchase price $156.60 each.

               Profit $69.60 each x 100 = $6,960.00; Profit lost 1st quarter x 8 quarters $55,680; lost

                   2-yr. agreement.

               Total hardware profit loss over 2 years on 2-yr. agreement signed $269,120.00.

               TOTAL LOSSES FROM ALL FULFILMENT & DISTRIBUTOR

                   CONTRACTS

               $1,264,000.00

               SUBSCRIBER AIRTIME LOSSES CALCULATION:

               1.) DISTRIBUTOR SUBSCRIBER ACTIVATIONS:

               3200 units each distributor x 3 distributors = 9600 subscribers

               Our cost per subscriber $3.33 per month – sold to distributor at $9 avg ($8 $10 avgd)

               Total profit per subscriber per month $5.67 x 9600 subscribers = $54,432/mo lost

               Subscriber agreement term length = 36 mo ($54,432.00 x 36 mo) = $1,959,552.00

               Total Loss of subscriber recurring revenue--non activation of 36-month

                   contracts $1,959,552.




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               2.) FULFILLMENT CENTER SUBSCRIBER ACTIVATIONS:

               3200 units each fulfillment center x 2 = 6400 subscribers

               Our cost per subscriber $3.33 per month – sold to fulfillment center at avg $8 ($7-$9)

               Total profit per subscriber per month $4.67 x 6400 subscribers = $29,888/mo lost

               Subscriber agreement term length = 36 mo ($29,888.00 x 36 mo = $1,075,968

               Total Loss of subscriber recurring revenue-–non-activation of 36-month

                  contracts $1,075,968

               TOTAL DAMAGES OF KNOWN QUANTIFIABLE CONTRACT BUSINESS

                  LOST: $4,299,520

               Damages based on lost opportunities:

               Based on the overwhelming response to our relaunch of the NEXTEL brand at the

                  IWCE tradeshows and discussions with our dealers and distributors, Nextel had

                  reasonable and very conservative expectation of a continued growth and

                  expansion of our dealer/distributor network in the range of 50 to 200% growth

                  per year.

               This would have resulted in revenues of $269,120.120 hardware profit loss over 2

                  years on 2-yr. agreement per distributor for a total of between $538,240 (for 2

                  additional distributors) and $1,614,720 (for 6 additional distributors).

               The lost air time profit per subscriber per month of $5.67 is between $36,288 per

                  month (for 3200 activations each distributor x 2 distributors) and $108,864 per

                  month (for 3200 activations each distributor x 6 distributors) for a total of

                  between $1,306,368 for 36 months and $3,919,104 for 36 months.

               This results in additional total damages of between $1,844,608 and $5,533,824.




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                 2. Actual damages to Defendants’ reputational harm resulting from Sprint’s actions in

                     the amount of $7,278,432. Sprint wrote cease and desist letters to 21 other

                     companies that had expressed an interest in becoming a dealer or distributor

                     further damaging Defendants’ reputation. Assuming that the conservative

                     expected growth came for the 21 other companies threatened by Sprint, then the

                     reputational harm is measured by the 15 companies that would have done

                     business with Defendants had Sprint not threatened them. If only half of these

                     companies became dealers then Nextel’s lost profit due to reputational harm is

                     $922,304 times 8 lost dealers = $7,278,432. Retrobrand’s loss is $727,843.

                 3. Defendants’ attorneys’ fees and costs incurred in this action, which are in excess of

                     approximately $200,000 at this point in the case and will increase as the case

                     proceeds.

                 4. Punitive damages in the amount of $1,000,000 to discourage the sort of defamatory

                     statements made by Plaintiff.

                 5. Defendants further seek that their actual damages be trebled as allowed by statute.

         As set forth above, Defendants’ damages are not mere speculation or conjecture, but a

  reasonable degree of certainty. Defendants need not show that Plaintiff’s tortious conduct was

  the sole cause of its lost profits. See ICMfg & Associates, Inc. v. The Bare Board Group, Inc., ---

  B.R. ----, 2018 WL 1586274 at *4, 27 Fla. L. Weekly Fed. B 249. Defendants have proffered

  evidence of its contracts that were terminated based on Plaintiff’s cease and desist letters.

  Defendants have identified witnesses that will testify at trial regarding their termination of the

  business relationship with Defendant Nextel Worldwide based on Plaintiff’s cease and desist

  letters. In Defendants’ initial disclosures and supplemental initial disclosures as well as their list

  of witnesses, Defendants identified a number of witnesses that will testify as to Sprint’s


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  interference with its business.13      Plaintiff declined to depose a single third-party witness

  identified by Defendants related to their tortious interference claims, or any claims for that

  matter. In 15 months since the Complaint was filed, Sprint has deposed only Calabrese and

  Kaplan, individually and as the corporate representatives of their respective corporations.

                                             CONCLUSION

            Defendants have produced credible evidence which should be presented to the trier of

  fact of Plaintiff’s tortious interference and other claims. Having produced documents, damage

  calculations, and identifying witnesses, Defendants have clearly established with reasonable

  certainty that Plaintiff’s actions are causally related to its interference with Defendants’ business.

  Accordingly, Defendants respectfully request that Sprint’s Motion in Limine to Exclude Late

  Disclosed and Speculative Damages be denied in its entirety.

                                     CERTIFICATE OF SERVICE

            I hereby certify that on this date, I electronically filed the foregoing document with the

  Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel of record or pro se parties identified on the attached Service List in the manner

  specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

  some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.




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       See Exhibit D, pp. 3-4.

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  Dated: August 2, 2019                         Respectfully submitted,

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